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                   CIVIL COMPLAINT FORM TO BE USED BY A PRO SE PRISON ER


                                I   THE UNITED STATES DI STRICT COURT
                              FOR THE MIDDLE DISTRICT OF PENNSYLVAN IA


                                        l<t      o(
Full Name of Plaintiff                Inmate Number
                                                                        Civil   o. _ _ _ __ _ _ __
                         V.                                             (to be fi ll ed in by the C lerk' s Office)


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     ame of Defend ant 1                                                (_) No Jury Tri al Demand




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Na me of Defe nd ant 3
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     Vv.r\ 3.ocde.c                                                                                   DEPUTY CLERK
     ame of Defenda nt 5
(Print the nam es of al I defendants. If the names of a ll
defendants do not fit in thi s space, you may attac h
add itional pages. Do not includ e addresses in thi s
secti on) .



I.          NATURE OF COMPLAINT

Ind icate below the federa l legal basis for yo ur cla im, if known.

 ,.,,,,,---Civil Rights Action under 42 U.S. C. § 1983 (state, co unty, or muni c ipal defenda nts)

            C ivil Ri ghts Acti on under Bivens v. S ix Unknown Federal Narcotics Agents, 403 U.S . 388
            ( 1971) (federal defe ndants)

            Negli gence Act io n und er the Federal To rt C laim s Act ( FTCA ), 28 U.S.C. § 1346, against th e
            Uni ted States


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      Inmate      umber
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      Pl ace of Confinement


      Address
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      City, County, State, Zip Code


      Indi cate whether you are a pri soner or other confined person as fo ll ows:
                 Pretri al detainee
                 Civilly committed detainee
                 Immigration detainee
     ~            onvicted and sentenced state prisoner
                 Con victed and sentenced federal pri son er



      B.         DEFEN DANT(S)

      Provi de the information below for each defendant. Attach additional pages if needed.

      Make sure that the defendant(s) l isted below are identical to those contained in the capti on. If
      incorrect information is provided. it could result in the delay or prevention of ervice of the
      compl aint.

      Defendant I :

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      City, County, State, Z ip Code




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 Defendant 2:


 Name (Last, First)

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 Current Job Title


 Current Work Address
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 City, Cou nty, State, Z ip Code



 Defen dant 3:


 Name (Last, First)

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 Defe ndant 4:

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 Defendant 5:

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III.    ST ATEMENT OF FACTS

State only the facts of yo ur claim below. Include all the facts yo u co nsider important. Attach add itional
pages if needed.

        A.       Describe w here and when the events giving ri se to yo ur claim(s) arose.




        B.      On w hat date di d the events giving ri se to yo ur claim (s) occur?




        C.       What are the facts underl yi ng yo ur claim(s)? (For exampl e: What happened to yo u?
                 Who did what?)




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            ~f\d J,SC<,v <ej          5~ er-l f"'9t      (\yye. J ~-\- f,,,s ~ \,.1'M II           ofMt4- ft~rJ ~ ~ e s v,°';M·.f~
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               G'\"-d..1'1 · ~ - ~ ~\1..\1'\- ',H "'- 011t,sc~./11Jt1 5 l if u.f'lr;"J ./1,l p,cfw'l-5 QCIYI t,ltrl p,·cfv1res v f
               o        \.      \ C , c~J. \. •+H \, ro..\hu' ~r"n6Ma--t-hU'S/ /'1fl/htr1 /i\. llJ /\/ft.Ct, H ~\'-•M•Hs .
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               ·" A. -t1'tjt 5 "'"c+,011.S fc..MHc. !. f lc., Jl-l-, ff f fg/Vl B•tA ·.-l Sf,,.f1tJ \.-. ,th /\1<1 d.1Ae. fro CeS5


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 jt, OI\ or ~~~.f- \o • il ·J3 ~\c;.;4;f-f v.S!ud Jelt11Jo1J P,,,'Jltr \.l~~ \S ne. \u>..11,~j C/1'.J :)-1 1tt-l-d° ~\~·"""Fr
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           \o.,...s,"'~.\- MA. Ci\\\-\\& &r,evr.11cd oll Mt. a11 J ; 1r1~ ... 1J /VP1' ')tl' yi.t b"t/(              'be. 'n on (-5-t      *"
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L/ 9.    Q()     \\~ l 7~ a3 P1~,11+,ff SftJ/(e, ~ t/t ftAdu.1>f CC\f+ a/ldaws ftoM Sec~rify" Md
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         fl~,111-: ff 6 hot;?' 5tclz q {tt/ Jilid falt:J j?;t Ocv/5 tve7l1J ft1~ focKIJ/ljJ if tk,y
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         \~ ~l"'".\~~f Ch~rb /f1qJ/"7 u/ CJ/7/ tKC"t.6 ht- v ,5hu et5 fi t,,1ny 5e01r,1Jt
          \~ d enf"J fl \~11hFF hlS !'1,;ir /~/ Mti.,/ ek.
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So, f'r~t\1 l0 ·)3 ·~3 VLl\+;l \\ ·J/·,D fl~1~,~ \,JC\5 dtJ\ie.J Al C~CtnuS fo                             f,'lt f}r-ie»tt,.~5/
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            Ml M'\)or Uc-MtJt:1w1 fefuscd.-+ofe// ()[r..in-l-i!f~~ywc.5 hL 1 ✓1 fbo or'" K'-(.fl,etJ t:tn.l
     fl~, 11+:f-f- 1,,,,t5 fdfl ht C,,<t! d /Vo} Ci. f Pl¾l f1,it,r d.ec,5,a-15
SJ, 011 or f1.howf- t/ ,;[,J] fL't,/1/t'/'/ f,lc-<J fl-ltclc,p (/tC1Yld f /2/ur11 /r) J~htvclC
    0./1 ,!_ r,,_ (c_; \/<. u,_lf --/1,, S4 /Jlt /JI,'vi//'/fa5 Ci5 a// o/1,v J-o de_ i4A,,,b /-'Paf.5, f', rd-'l
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        dt1tf1, flu,'1/t"-:fr-q/( q1w,,_ fr:,;u'?jt-5 lf!ll,[/u/J, q)1,/1,1uw/,r,,/# /J{q,4/,/,:'
            \tl&-!5 dell ,'tj $/utNerf f,, r 0>ver Ci Mv/1/1;



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11,       " ('            t l· B' )3 ()lc,.iotiff Cell. wa,             .StDtrC..htd   Of\   •   c.\e..ftr'\d"f)-\,5 'f \Ae.c C\t'\d \.(,M <-":\\er

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      - C,t\

 55 ord~CS ~\°'·,n-\-iH• f< ~ltt·y \t-JC\5 t!esl-~ yeJ


                      .- c,1,.,.\- "H 3· .?3     f 1~,,,.\-;yf U// W'-5 SI~' h,J Q/1 Jtfin,l.,,•./5 (o _,,, .,11 J ..,11 M ; I /,r
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      ·    or.    Or    c..'oo!M' °\ • ;µ-J3       ~\<-.,t\   ,~f Cell ~e-.S Stl\rched af\ dtwiJ ..flt5 (~v'e. 1 Mi \A •f\ f-1\,\ltr •

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tJ. ~\";,1)\-,f~ °'          \$        ~f"'C.~<..>.~ MCA            \'itvl Qr,_sonu c.Mci ·\~ ~ M t . ~ ~5                .S~ch ·," 0\\\ of ~\c..,~H5
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           \i-l"''- ~ Mi\de
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           _Cc,\/~r 6. i.l\ 'ni...,r ~fe"5e.. ""\"~,f~ ~ro-.~a ('v..3 \.iC..S C-iffe.! ""cl Y\·,s K"'-F' 'nc..l 0\. '°'o"-

           '" ¼t.. CU\.\e, 0 f A-


          C)f\      r        ~ow\- , - r~·dvXl P\"'i"+;~f .5~oke f-o de1t"d",,.J.- IA ·fll fY)il/tl' vt't:>o~ ~'" C../r/5
          ~es!-(i Y•"j ~\~11\ti~f {"e.W~ """                           ~r\;'1-L.\,.s 0i11J li·h~re deftnt\'-.1'.\-- iA • M M~\ltr      S-h,\tJ ~v-c.~
           Yuv. +aror,s} t\11,(S\~MS                    1f '/01,t   '1\l \,Jc.M- to ~,e....\-\-~\. ,s ~11\t. hwr \tAve. (,,Vtff d/ el             C,1,\-l- o(- \.\-


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      c,."A \"°,niiff eP<~l~,ne.d 4- ;~ /\llfo.fldtt-1-or;, -/iiJ- 'v-lht.l\ f\"11\+·,H oHus ~•.S ~r'1ft' h'- of<=er: #c.M 01\
      " C.\e"n    rf""c.c 6tkl\J~ \A,M M,Jl,r .5/t..kJ Yow. ~re C\l I Jhif ht"d.5 MV~"'ij "\W ys -t\w"'jh+
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     ~W\,l!.S .s" ~\~in\,~{- (p(Ald o,U,t,- Clec.l\ -¼~ Ct// (And of~• h,~ ~(h~t.r5 6t-ftt\A--~ < vJe. s+~
           ~'""'"~.~~ .Sh""'td h"'v +'hc.1,t&h+ 0~ ),,s fr ,tu                       be..~re Pl ,,.f,H· ~,\e.l ..\-~rt. \~s--\J. Wt J eill -fhgSe
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~5'
'ii- :fr,H~            •3-<> ·J3 \AOti\ \o · t -.;}J   Vle-,n\-',ff w°'5 IA" ~k- \-" o ~fu- ~,5 M f\dcAr.ry ~<'\~US
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            U!J JI'] v~J ~ ~~•tv~'f d J/J~W''1 -fV''J                                     t V'Jbl~ JJ!fV'."' &                 v){ 5·~      '1,,5"' w ~1
   1l'15W'.     J'15 °-\- flf J                "' yv      JV) t;',, -~""\.\ 5agv~ \:7 (;Y! I\~~ 1J'.t'-''-"'\ ~•!s-i~ ·H'fv ~"\t)i
         ~7J ov~ , oS'\'O        •    ' V!>      s,o /J i'\\ )\~ l"f'?;'-'5 ~'"'~~ S'1""' ~~~-\V'.½)~ <;,oJJ 1/d'.tl"'W
         f' '-\ v,'?b'<) 11';\""'"'d               O\_';j~ "''      fn..,,~        ti\     •H',1 111"\d .fl-\-1~          ie ,(,r ·'t    ..,.,..,~.., J   U')
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     W-Mc>J) v.o S\JJ (\ ypW ~~ ➔ 1'\v•'0\4 ~~:)•"'S- ➔ o 5f4~°'if 9'¥'~,) .°t ~~1 V WJ~
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  f7f"4> "?lo\ \;.) M ;,\?'.t"''-':.\~ ~;9 0C1_ -tsv-r ~ ~.J~ >f1 ?'(f t"1-f rv~ 5\',r.> ""'~ ,JO f>"{f- plld
      ~""1 °d)"O 5fJMflt1 f!?'\-i.S' 1;':\"'°'\~ f•.'1§ fV'1 J.,YJtS~V... "f~J~Vl$ \-SY~ j~'.\U~...,, f~.Sl""JS'.°P
..J~\\'. vi \,,I •n f" \, o I\ •~j J t'>'/.." '~>Yll Iv ,.•.Of'"'"\ I flf JO IJ " I .i)I I w•f I,~ 'Jf?OM 1-:J J • 5f-v'1f\l"J.9f
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         C'v!/n'rl r fAJ•~ 'J ~ ~"\t ~ ) ~VJY> o/? 1--f'Jl45° \J O 9'\                               )•O •J     ,t,t1'~  1' \'"''\V ti\  t)'
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         'V '.\\"Jt   ~n•a(\   <;,pJ\d"i'--\
                                      s r'\ ~j•,tV~'O~ f'"\t $UJV'<\ oJ') l               ~3'-\V',">\~ re ·I,' , 1 f"'OC\ JO ~          .. ,9
                         .                     jj•.--\'-''"'\\   t?:1+ )4 .,1°/r\J',(J      --\-'J'4    ~il\•~ rv-o M'2-\->''-\ "\'~'J•,.,S'   "~
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       C.v\+ \.\\b • r~+ v-1 · ~ ~ ~~          ~ Mec:l \ ll\t.. i"~~ \-c;\~ ~c\°'* I- tJ '{fAS " Jefe,,,tk ~
       kf tJ t~5 s .... . d t/i ~ ~f"l t,.kf } ie) dt f e n6- ')h /,JI' _fYI(,__ f c CGre. '/<:Ji-t t?i(e tl\l~iS ~ ~'{~"J
       ~is ·~1AC.ki'1 j1,,,/YI'- S 5}! .,r1e. • yo ftlillf we.11.f --h J ,t uttd j, Jeeftr bi~"'~ ,~
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        ,.~ {<o.Jl              i   W'-"kJ            .j-.   ,._   '{ovl   1,1o-.1J t, J<,J ...s-1- [ ii<< lilU ./1, q/1,,r nl"I -ks 1-Jh
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        \1' C.-:1 n-\-\ Yr ·1" V\ ·1s cell C111.+f i11J Vlf




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11/.          . (c,bo11f q . J3 J<f.,,J,.,,j- C•rf.' J h.J \\ of i\O.:,.\.f(' c/.p,5 -1, /( Mel \eA
    ()\~,~.H- ·,I\ fr-ee-Z.~llj Ce.I/ 1-.J.,fh N IJ                           ~'K.e.-1-- / ,r Pt.$e5.f fo rci/\j f1"' ;11+~f f -h lei\ f
       0 f\ fra:i,~ C Id /'1t-f'./ btJfr'1P1c!



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       5~H C)~r,d ~\"il\,tiff' -to (l~rll ...\-u f-> •IV? ·~ de.Sf,tc. V\ c.1 n~;fK C 11()/ttrttls II'
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         Case 1:23-cv-02059-YK-SM Document 1 Filed 12/12/23 Page 32 of 55




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        t c. Clo ~" doe_ ,\-c;\l ~ J f\.\- ~$5 'Bye.c\c..e. -t\,w\- f\c.,n-\-.<=f w"s .511\• c.:ck\ \A'v\tt\ !t.HAAo-.t\\.
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        f C..\l\tff- Y,c.~rl?S of- hi5 dec.J \ovc.l of1e.5 W\d- Gb .\-u.wit.5 dt- tl'd"t\1'" V>j~dt.(, ~ l ~\~.1\\'iff-
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        ~ °''"·t.f-f ·\s Su,c,d'tl 11,fl.ll ht. Sh o111/J. d" ;j-- b tC'¾W~ V\ t(ifl/1 Whc; '5 St,\.1c,'J1tl J. ,.,5 IV~
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                 J       \                 I)                                             ,\-'h(.. bc;.+fuy' \I\ ~,J~ li\l\J
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           .SW \\o...ie.J ~~ And Swc..l\c, vJld --\1,t r"wr s \,-)t- ll •11\ f,r111f- (1/, Jefclld 'tl'rl' byulu
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       f.\-t e'#.erc.i5'!. de..f(AJ--"~ A(i\.w-A                                                           hcl
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 IJ-on           or C\h,uf-       C\ ·JJ ·;>3 ~ in C/0 S/YJ,fl, 6}-"'ft.J th,.5 flC:11\};(:~ btJ.-'l }o CU\+ \-), M tlf
t t/ CV\d Cc;, ver'- 6 Ce.ti ~ ndo~ tiilld ~"ll.5 ~ ilk b\o d ~\"~l\tiff ~~ \tf-\-                                       \I\   u.i[
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g,,5 ...\"·5 ~\ALU"\tl\~ V\"\l\•hC:-r Wc..5 ~u\i11 ~                     e.~tS5'~ vit1d h(ir ltS') ~l'-11\.\-~~ \r)"S (c.f\- 'V\ ~\l\ffh~j
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           M"'\.\-iyk J.:J-s &Me.d -N,,6 /hlfc.. etrt- .,rhe. J~¼ 5,·t [AIIS -H,t di.tt¥ Si~ °'re.
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       ~ ',A\,'.~f ~\~-".\-', ff ~~.s Je111u:l, C\ll /VltJ,·e,t:A..I c:,11! Mt-t1+f\1 h,t>..lfh Ci,\(C. Of\ {1,.,j' c¼.-\-t


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~ 5'u(i11J. l(iA.ff\,c;.j 5h"'rf 11 tf fV1'11'1! ~ Plu//c vv,J 61N J/1J.Jed ·;11 tiH"*" Pl fa r,,d
  \:~R. ~\"'·"..\-;f~ \.,-lt..S r,Aj- 5fr1iycd. vit1J N CI ~re<- \t-''5 "'fflied


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                 C~" of ,:J /c /1'1• · ·& fore, fr,l'I ,Mf!•M<d f, ,,,~no&                                   ~<uAA,,1'-(: 15          rv<-t
                 MtJ;c"ll!f Cit red t:'ur -#i Ul5e... of of C
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       . Pl",ot;ff' ·1 °'"J. \rlc.6 oit ~\l fiMtS ·\" Cd'1fl,vnA- q_ ~r,                     Ml"       ,t\¼c.. CAre,C-A       A.fi c-.n.!
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                                                dt.f--e"d~ ~\;~~l\t- G\--~ Ao/\1 (t'-\lfy {~re. ;
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       f\t~ ~ Shql-J Lf J/Abl;f ./},t l'af1S oil ho.,.1-/P frAc.J< y.dl JIAtl\b CtS5e5 \A f "Y"" 1/ CN'd
           ~ll.t. d "" & \\"\l ~5 Pl'-11\¼,ff is Pt.} h,5 Cttl clu r r "ill+iff hvv. ~t~l/lJ ,,.,J
        Bc-.\,1\ ,l\e _·h. \\ ~<JM~ boJ. f ~!ALI< -l-h"-1- NiJJtr VI p y'o d ,,4 ),~11, N~i") ,h lo ht. t;\(~ dy
       "' \JC    friA.   \f\    C-. \"'v6,\,+,   .S~ ~\I   5ol"IL {vtl\


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 ~ -     "    r C\~'4 '\ · \ o ·J3 de.fu\J .. n}         hltJ C"'Mt ~ f l"'if\•hff J~u~ or-c:\ere.~ ~\"'"\:,ff \.o
                                                            JJ-~
       (.IAf~ v.~ W\ J. ~\c..,n+;'-r u/Y1 flitd. \,.l            w
                                                             ex\\ orde.cs (>l\c..f_ h,l\d(~f~e.ci ~\~.r,t;ff \,,J"'.S
       orJer'-A. " '°'°'s K11eeJ r;,,11d Plt,itJ-l,lf fAJ4'•~ Ctt1f/11tl J,,,,it )c.·,n-\-;F'? l~'i~ oil St 1" ~
       <Md ~&\S Nolol f6i.S-/-w,f /--. ol'du: 8 vtt1 ol\Ct. C/o et'lftred Cl()..) ht'\~ 9loa~ ~us
       01\ ~\C:.nfif.f \,&\c.K (4IA5111J 'f"iilf Je.~f\dl,.nf Sf-"b'1 Of'dtrt_tl_ ,\~\l\t lff "is e\"'ct..J (i/1
       bi.d ol\~ a11 ed Clo5 al\ ltf+ "'I\J f\"f,~ of ~~-•llt',f:f w re. fv.11()-j, O.f\d.eye.[} v..J11
       Q\"1,1-t,~f Wf' No -re ~Oil \"\/\+;ff l,Jc. ,vet \tSi~~ Ii\{- fig f~ne.

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 I}·    Of\   (}("   °''oCiiAt" O\ ·l ·J3 \,.) "' ~\",~,ff- ~"'s \I\"~ "~ l/a 5 \.J\!(c? .j/NtTn,fj Pl£\ /\t°1Ff
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       he.~ } ,fht /jrv.111d /ul' M rtAS<J/J c...-l- c..tl


 i.     Pt~;l\t,ff \t fr\e.d d.e..felld"11/. htrS~t\, I Cocfk'j C\I\J Fro <"o~l ~ tSe..-\k. Clos \ (\ Cullff'<-\
         6 f v,~·,1'\·, ff +-at) Vo< id~ (i~ir1J f ,t.sl Cell e 1-f.. lfilll
                         Case 1:23-cv-02059-YK-SM Document 1 Filed 12/12/23 Page 37 of 55




                                                                      t ,,./ 'l't'I • I .. ~;~ t-'\ "- 4--eC\.M ·"
                  \   L
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             r ·'00 ,A, O\· \<, •)3 d c.'"enJ"-~ ,rtt.,fl "d J,..r ~" !J / Jto I-\ .                     .
       or~,r ..\-o ft~o ,:: P\t.-,1\f,f.f C/~M P\",Miff Wlli DMf/1·c.ttJ l,Ai,/J, 1tff ~tdt,'. j ~~
    Yt+ Vl~·\t\t'i{f w~s fc,r fu.lly s\C\MMtJ              'n d~ fVtL 5ho /( .$h,tld \rlcS '\c;.ttd " ~\I\Y,~~
    ~ -,I\ C,fdf_r .+o ~f""ccck. ~ ~,t'\t'iff- \c(,t\~~Ff C"ri-l-,111,UJ .f() ;11/r,rr, cJ tftA/~llf £f-,:.bl1
    ·~\"'1"-\-~(:f ~IJ ~ 0 1- bn~fhe Q\f\d. ~(.ttttd,(t\} .sf11blt.j t1ff /t/l1t!f fl'- '1-f.ff
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     \A~,\e._ deFt,,,J"~ .\\-tr. h9' 1 C,.,"ftr, Oil) d ~o ~ " \ ~~+ _,\--µ -st,,V f\c;.;11-t,~f Wf sf1 fV\~i1
      ~l~-.~;ff Sh;11S du.,.J" Oil edJe: or ged }o 0-«fe r,1,i(/'1 Cil/lJ PlvicinJ cJh,,'IJ "" ~";,1\-i<='f
     ht,.\.         dt~n\- Cuop,r i:ef--r ~ i ~er,l'j fc,r fl"-i"-\i~ -\-a c:\11.. f\t- (V -f-;1'1, Crl't.S
     V\<-.~;ff (t.S, .ft.inf of refu~,IIJ -/6 c,,;,1flj vdfh ..5+,,,t 5ep.,rch or -to B ' ve Clo-His p




fli/$ . v,f\  r 4b"i.l+ q . ,3,:;>3 V\~,ot·, ff irJu ~Ke.~ f,, tJ..~c~y \A ·,\e.. '" Y...-" f ,o -n
[c;;) !t.ftl1J";1t J.J- ~ 5./-~bl~ --'4 JJ Ple.,Al1f/ ht be.#?r /V f {Jv1r £-it: •fh~ e l\b"'J    (l~•h(j/Jj
       (All    d   s+-r&,\,   k ~\""i"\ I\~ ".,.J f ,MlS ill ,l'k (,i'\Q


g. , on Gr bh~-t ~•it.\ ·~3 ~ \\c.. &\t '\-\ P,k\ c:\e.ffl\J,,I\~- ''t\5 c" \t.A              ,~I\S teJI fJJt"ne
lc,J       /\d .Spo f{e. --1-o d fuid~ dreK\u- f"or ~ SJu,rf ftri"od C\fW wer ( M//Jptt /..f &feAJ .. 11}
        /.J d.reK\t.r f\~(.t.(t ~ dtfV>d~'I~ Cf\p+ ~of¼ on .5fe"~C- e.fC/\d."11+ (i..('+ ro-Hs srok'e. f{if
       jeve.,.~\ 5Jl(Q/ld5 ~ hid Plt-tiirl'.'ff -P L,.-1 '+'1dr~t1 Cd,+ V r /1-.JlCh/iik ~\c...i4~,f- !ectint.l
        ~l'\d &.,H.11dv1 ~ CII\ ~ V .H-.5 5J..i'd /-P cl ltn"-1,11.J. f-.f JreJ(le.r y~..t f<.riow wh +-+o do nJ
                                                   -~"'~'ff .+htll "'j,reed 'Vl ! \.--)'\S st ,,t ~;+
         ~el-elldvt-+ ~re.l(~r '-'\\· ¼t (; u:_ belt
         ""''.\-"~ StC(;fld \,"',s+- oF ~ '"<..L 'D~H- lt""i"J fl'-•"~;ff \,-t ·~ wll-b-"" h;.,- S'iJts
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   lo V                                                                                                   .                          ~              .          .l bh
  f/fl·     f\     or ~ ~ q. \5 . 3 \ '" .~f W -s .. \.-i~ 'o.u\ £\+ h                                           ~iW \A'f\V' ""D\e.              c-1t,61'\   Ul     ,       llt.

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          t"cl c, f U\(\ dt.~L,J""+ ((o s cre.5-1- {>\"u.cl 't\ ~ an S ~"~r t;.nJ                                                        i'\~rMt.    J. ...\-\.L c.cJltr
          ht. ~ !>           No~         C):\    ~r~        kl'    fltt.   CG lier / dellf,'/,i!.l         h;~Sll~     Gl5 d e f t l > ~ ' t l l l C ' i f + J-,,.(Z ic.r
          frol'l 6-       Je.(:t"tl"n+ f,~ fi pl ,11-i: Ir fvr ti S/14/r ft I J sK,':J ()l&\,1\\-~~f-
          C\       4 +\ll\w \f\r\s   \c..,f'\\-\ff h J .if\ 0\ ~,/\s-+ +ht. J ..,.c -rhtl1 OtfUld. l\+C f\-l-,,.(Z.~U-
          .sl-JtJ.'+~"-+- dt.~U\d"''l~                       '"1,,-1""     ~ Y\ttJ
                                                                                 ;t v.~         /l'l"(,ch",/( e,.11 by _flt"Y f'At. 115
          .Sc, ·.}- v.J •.dJ            bl'?..    "'    P\",11.f,ff '7 s~ ;111-er.& -fo It.-!- /1,, rc.s ht. J,'s/'1,$/ J. 14-,,J
          tt h~'j fh                l'tiol\L '-\ f




      •     e,I\'oa--tt ~. t5·,? 3 de. fuid•
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                                                    5e. 1.Jf CPi/t'Jl h- p'"' n+,ft: J,J Jre1,,1 h·, jl/\n
  [6_5 ,,J tr-'4 fl :t'\\-.c: ~     ~l.{. ·," ~ -.          +w
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       ~ ~ \u ~-1'.\-iff hi!. c\ tAllJ ~led f/,,5 ,j bf ~11/ ,1/,:.,,AS 5o 1 .SutJ,trl p-< la}
        • 11/, Pf Pi/lc/i" ,/( ,j-,
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                                    l,-)h,c.h J y,w V lcAl M #, fe /J,1 fY!,/11 ~ /" Jlotf/ 1:h
      ~ii\ K ~kl,\t- ·,+- O\ll ;· "'""t- f-~ S" y ,s f,"' Wtn+ ~r />Jj' Wt fi " or .fried. ..\-o
          e C ~ V\I\ J {'j,; b ed/ ~ v,IJ ll 'vuf-11 II ,f- he:. -{1itit l,Jt,i-J- Ii/Id 5"if J ·.,.111


                     r             ~ q .;,.~                      ~"'"-\.·~~ hec.n!.~ ftf\c!"ri} J.J-. "-'+ -h..\\ de.fc~ n+C.lo
                 ~ -4 -\t( ..\-o .Srr"'y Vlc:..1f\t-;ff J\;\r1/\                        \,;5 f; IAl\d




Jt,! , ofl ur C'\ '-\+ '1 · /-~~ Vt",.,,\-iq. lr-l~ 5/.,,,,J,·ti:) f         J r J,.1}1~11 oeFi.lld~ C{otl"~er    C111



to I b " _.\-. ycfl J .e-1- -Atef o -1- o? yc:,1r f0.t;t/1, ~IJ/"se.J. fl~• l\hi=f- bl\c:Kti ~ ~ ~roM
      (..t.\\ d t' ~"--,.5~d " ·\s n"'-,,Js- 'lb e hi5 ht,!         "J. Sf<t"d h,s ltjS -t, tc.ike. 0\
       tv"n ot~9reS;vt!.. Skr.u:.           ·,," \~,,..\ ,ff \rl ~ '"' ~,s ~ f.i h      Ltt.J\6i'\1'\- C./o J ;t,\tr

      e.M i~!                ~ G '\ oF Ofc.. ~ f/'t111Ar/ f'o, /Ve re"~ I) ~, ..."4,H· \,J.-,s d ·-'5 tJ -~
      t"~rM                ;ft\   t\f    CJr     fQ.S.!d.    o. -\w-t~       '-\\- W'ly,t,tfl\C.   c\_.,..r,"1   ~f\,C'lt,o/\     ~ ~(IC<.c...
                                    Case 1:23-cv-02059-YK-SM Document 1 Filed 12/12/23 Page 39 of 55




                         I'    bovtf q •       l • 1 Pt"~"'. ►~ \NCI\           \~lt.l ."' (es.\-r, iM- C\-tc..,r Q\nd \e..f                '"    ~ ~Q.
              ~          ~1,\f      "   "''5 ~ ~ Ne. l tu ·, ~ ,e..5\-r ,I'\             'l-l k Cin {.c, +~~\\.\-- -~              y hJ4Lfo. C11t#. "-)
                  ~~ b\c-,c,J C,f¼\"'.\-;o            on e\c..11\t.,H:5 Ct(M5 f'14.,AS1       y e~+<et1L f11;11                   ~




           Clf"lo(               '-'+    9. 1- :f3 \o,.)"•\c.~c..,l\_.\.:(:~\,l      \.\,._    ~•   ~Je.W\dwif~r~k\ fC.C..O.vc.J"-'.                                ~
 \,lG ("'\\
                     0
                         "    ~ \So ~ ric..              ef'elldhd- lc-i!( tr Y\c.\l ~,r, c:.n ~h":'l~        n      S~e ~c.~              ·,\t...- .S~o. '"~
          ·h, ~tfutc\""h J..+C.     t\ l Cc-. f.\- eMt-t Utl\d "".}- /..J CJvSL \,.I ('t 'l)(il\ j ..\-o le.fu!                                             *
          ~+~n \tr C\l)<i ~r-\·d ~I(..,,,~ ~t}°'()+ re. u- ~-.~ ~\ ·,1' '.ff '\'j~Re- te ~~                  8r\~v "'l(.5
          Olt'ld          ~l\t' tiM <k~+ Jre~lu .$ttt ; {1.v~lif l,lt, I /t'IJ{-k,o( c~(e 11- hi e. ,s.hteJ
       -1,J ~ f t ~ ...,,.J J.../ CM .5j(.fuJ / /1t i)/,fSp ~ J,,,,;, hL ;.s ~ SJ/ii f,l,11\J h,,"1 otftAJ~
       J,.J       dt \v l"-k.J 5                ~ I \ , VI.   ~hl &trt-f rf"\is_s'i,11-dt.fc,i~~~ t..f Ch"5~ si-,.kJ 'fr,,.t,K {},                              I
        fJ 'j!Jt-r Y"'"'- h-1.ve. /"'ldk. 1 ~f\d ~-Mt.l f-er-l"'li.55, n ~I\A p ~StJ. /1,t fh , 11 e ~ Jefot! .. ,} t/t'l~l
        J f:t11d1.t1} €Mt/ bl)-i11 -/1 -r,iJJ< ~ r,,.,11/,,?/ <>fil,~ i /'),,p1,I- l,lt ct/I A"J II . ~Jftt/fil1f
       f\ Mc;Jre.. b,,d{Sh,r i (} e55 f,            h "" NI /t<tr1h-d. S, , Gt/Yl )1--inl h J..,~1. h fe~c.Jt f,.._ "bu"'+-
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           M         ~"~ "'f



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ll(       /..J _Jre \tr f3:;"n +. .5P, 011( tc. Flr..,lll•:1-r- " J ~Jed. v~ CJ/I ~..tJh.f- fo "4. s....-J. , ~.,,. 1.t.Jo..-ttJ
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       Uv ,(\ ~e. ~ ,/YIStl ;-                     Ne, -t•Mt \,-J     Pl&.. 0 1./-,r/ u.s-f r'~s,·s h·, ,.f       ;; r     M 11 - C,.,/Yf//,~;'J..J.
          6,i,..,,i\J ,lr~115('or+



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               (vi+<ie.f.t/'i<J .. 11.f lt, J \'i"J"e.     s-J,JcJ  ~is ;5 Fe I'       r~H-•'1
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              i ,1                       ,11-j PINlll,~f Ii(' f\J /('/111[/(,~ f{i.,ttfiff f, ../1u - //i c.l' Pl"'i11+ ',l=f
              ~ -s ,,i.-t res ;s-f-.11-/- r,,11d J,·J ('I, .J,,t41 I- '1-J IIM./- ..fht IA~ Qf fr-r. '-
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        .-/fJ/1?    f ~! 'J~)(J          'f tf fl JJ'tv•"/J ~'f"/f r,q1>J 3J/Jfof (;'1()/J\1{) f'Vi:J ~"''\~-JYI)/ V) S'1~
           :jj!~V:\f,J     "'"' 0 \.\    -"'llNf J')j     F:>>'.•J.:;i)(~   f /II > l'1 11•tV!'1\~ v         li 1 \       ~>f ?4 \\ • r1 "'•/,
          , 11w,v"1 \J\, ?9 t.f 7)/!I <Jfi                    ,)JV(>
                                           f !'- s ':1lf•ttl"'Jlzf -f}\J fVv,~IJ'a y 'FM) ~..-y "" \ 011 <II)
    "''~'°J4- ·-t0"'?-fll'fV~ )q ?!,•?nya 1\1() f'•v~v ~N ;;'!:/11'"''~ ft·t> •½ ··l OC\'-'.) v~ •
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              "N \\-\ f"'\      o'{ tn~Jv.?~ 1~. >\"' t>t5aJ 4i1J •/')~      vi c; M j-J ' v~"loJY)?d ~' nJ-;J --t' J
       O     'fyM        >'"''-\ lmfJ"'O.:, .J 9J r~";)f~~ v• -ftl\                        $ , Mj;:)''"'"'ld £ •
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>'"i ti tv"'fV1-11f          ~°"        ~:2,l~'j) ..)YI \.{    ~ c;,'\ f1'tnf p,M -:kJ :tv:'-' re -ee .b 1"'~ JO V 'Ill,
   5-\",'''v-tS"U '-""-'~ 5f~l\ v) r.n,'\IC\\JV'N W".J.i 7N/l'VIS' lf.'-f5 .J;l'.f"!~\d f1.Jt-Qf'•1''''1 :tl{C,-f f q f?SV''"]
                \II ~J i>)a/\?5 °f-'l'lr >f'/"11 • ,w .., ~ ,, ·'J i:J't\1•¼1(}    f'l41t'5-'>5'1 /'"? ·p1 w \11? fl.I~ PVVJ
            f2'V1f S'''t-1 .H~-\V'"\~ C11'(lJ""' "'. 11N ('i,11;1"')/ /II fV"W??"/J //·fv.111Jd -mv!fV                         \ 10
               i""'f"'f<>f f1fJ1.1.>fS''4' rvlJ '?VJ.:) cPM 5J:1"'1f'-""4 ~·+~· v, tJ1>f '""f-f'f fV'1f~~ :H'tv~..,,~
                Ai·t-'~~ rV'O (J'~t1 J/'-tV'"'tJ 14,9'Yl'IJ 1 11 \;1 t'f~•/ 'I ,,,~ 1,; ""' s-.J:JV,'Jr"'--'1 7 "f ~lff- 1 J ,,J on                                 sn
   -\:~--yv1:;t-r    -t -r~v~\~         ~,1 J't,A(}   ('w11JYI~ "fV' pn".ij ~•7}             ~ r1 :1} '.~!'-'Id (l ·t'              ·"., f"'? ~ ,)                  ,,;
                                                                                                                  fttoh 1~"' -\"\'"l'"~c!" fq                       hl 1
              \\~ +       v"S"~J "f'J J :} ~"''\·:H~)\ '<>                     \JI_ ~.J'lj -~""    1:1~ ,v, \A        re, ~ •l? -,.\A~"-' .JO v1 ,~
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                                                                                                                                                      1
      Sttnb -t" f&ll~ ~ f?lf 71{ /...y ,f f,,,~ ..f 'N 9/ 11:tv'"'                              u$1"l?J~     C, ,C~..J:J"'¥ ?if/ f'Je ,( " "" S\J
                                                                                                                      1
       -r\~\\N 7'\ ~ >H " J 1~'1"'-J p f''>/ 11:,t-11°~,d                          ~-HYI""    ?~ )      P!\      ~J t1          """"0     9~j.11J5  J)'o
         >1' ,         oMf       M ;/;/'tv•IIJ(J ~ \'V\,) ~-v,G~ t>"'r }1v1J 5 ..., IA'IJ ' 1 i --f1'tr :t~- \J•":7\~ 1''1'
             ~). ➔~\.--J •~                           11. \'°'\~ -;1,15 a.\-- 7W"J ~ • o'°J ~ ' 1 ' ~ j ) - £ •                     •b -+'" ,~ J            v{')   ~
                                                                                                                                                                   f)1
                         Case 1:23-cv-02059-YK-SM Document 1 Filed 12/12/23 Page 40 of 55
         (,p.o_
              ,,~w pv'1 /ii',?' . r f -p 15"V1 $'1.M n111/ rv~ w:ff'~IJ ..;,tJ ~"M -:)j '.tv! I &
              f"""/'
                   '1/ Vd •rll -:1-:1:t,,• •J/ ,, 0 j/:-IP."'/J f?,,(',. f ?}.J p~ f" 1l\ '\,,\- V'.
       .Jj,'\\""ld P'lf'Jll'Vlt) ' rl,IY'fl,/t 1* '-/ F")'1 1/ ·JV.' ~/J t:,,wW"'}> 1f3Y.. .Jl)t•,r f'V':9 ~'1 -'''-\
            s:fv'1"f11):; 1   f 7LAl'f >!~f- ?W'f 1v,JJ5' I? //'fV.'"'ld p,ww~/ f ~/V'!f~f pv" w~'\
                                                                                                1
     1° 11~ 1vv,,v 3,n(I 1 ?f of f/~l.jf ltf / I ?'/·.f~'"IO f 1~J ?"!'Pv •J                      t4,_C,1>~ . fi-"f v3:PY
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        -tv"f.S!Slj t', n Ji'. ~ .,..,,J ?>l.'I IA,Jt>;.f -f! '1 )("1W ~ - ~UJ~ ::1~•tV!"''o ~:~ '-"J yv") rv~'\1"''b
      fd1)1 /">'(01'-\, -f'"fv;i~          nv)I       ,~ ~-\ ~,l" oJ (\ S'°"" j-1'-\\J~¼\()
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    nw.r f-\-\#"'f~~t)r         rvV?/6 1 iu- 'f ,,ww'1/f ~ M            l'f'-''"'k} J-'H\;f    fe-,e· \o f " <\' JO Vil           ·~
                                              /f '11 f1 f".,. r v11 1p II    f.1J   .J   p (v"'J "W.'f- N 1" 1.-,, V•"l.½
       f JfVlJJ r1tm S'''r1 • J";J fll"> f,V.'f!' ~J.) -f N S'?l'I\ ·H'"1'¼~ u           3j ON     .J ~ 1j•.tv•':i~ fv,_
                                                                                                                       ,pw!
        f•,r\ )~Sfl ~ tV"pv1:flf         fZIY'<'.J   ~ \10 )\'. t'\ fV"' J ~ ~ :H •tv: I~ p;>tyW"'lS' '"'ttll? "J
f\A"' 1,AS~s.n~ 9tv-,yv;jv'7 f V"' ?J'->_j S! '\ f' JA M ~ -f!J5 -{S'J), 'YIIJ) \', \ t'\M 1' '°t"tS"' ) (]
 t 'o/\ ➔v~-rv1-,,ay ~YI   r IJtS' j-j', \I'. \q ~IJ"l.1 '\ ~-1 '. ~Ui."ld flf::}~ Ct ,e, \, f"'~"' JO ~" ·- -
                                                                         ~.nyf w 3       p ,f f "tffa1 r-'ov)/ I J'\/J} fV"'"Jb
               ~ 9-t VMOY W?"\ ~~ ,, . ,j, "'W IJ t.A5~'\ ~~~ ~                )( 'O '- v, ~ Jf«\ 1W"5 ,~ bJJ
   t9"'/\ -J-'1-tv'-1'v 1J.,~ fJY1l\ '"~-\"~.,,~ v,, n n~J •\.\ \)~ ~"" j:,·\v•~\o fl · e•lo -Mr- -·-_; o
                  Case 1:23-cv-02059-YK-SM Document 1 Filed 12/12/23 Page 41 of 55
                                   Case 1:23-cv-02059-YK-SM Document 1 Filed 12/12/23 Page 42 of 55




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                               (' O\bc.     r lo . o.~3                    li.{1\4,ff          ~ s    \t\    h·,s C II l,J)11n de1t/1J,n,I- Cl               M•      (i """

    [J) V\~frcd\t.d fl"•"t;ff dP r sf~c.K 0/C                                                        • he1 c. vtl\Jer Pl".t1·f.ff              d-o r ""J P1ft-7ct-~
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                                                                                     (i ~ c.,           r,                                                      ~r. 4-;tlci
            C.. M,l/er           IAftic.r; ~eel ~l~~l\-t,~ ~\C\c.eMtM 111 0\. Ki,iffb ,J ft;r rJo ft! Sot'\ ~Cl\\l'd-,~ v--,c.S
            l\lc,\- \1,otl:'\~1\j Ne-           o \c.f       or en~ .,j,J 111 Seif 11 s. rt11 f r /(Vtff',,A_)                   i"~(\\~,~ \re. le.fl--;"
              u.~Pt,~ ~r                 l4 \ic, rs d.c..S 1-h- \ \ "'+ ~c,\ ,,,t slricS


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~           - ((c:.M                                                                              e ~f'( (\ •j\\.\-
                              \o · lo ' ,73 IM'lt-:t \Cl. t, ~J VlC\;i'I~• F'f WetS de111eJ e e.reiS                f ro/Yf
                             lo-}> ;I\ .f-ht /'1;1/11":J MIFf ftViv "1 fl1c1tW-,~f (tJft, ,lll'.J ~ r t- lt"-5} ~ut
            ~AAf.S            Ad JVly'•~ ~\",rl};ff h,{-/ft....15 a~) /1,~c f ().55t5/llellh ~w,J IA((s weft lvJ'1'(5
            ;.,·, ht- a11 f/11/l/,-// wr,51 6iiAJtj e trr,.,'- pl\,/)                                                                    •                       •




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~ (JI\                    r         O    t I(> . ~ JJ Pl~1,1f ;ff ~ c;, ke. vt r (1\/ld ~'if                             t,tf'   () I\       b l.d \,-1 . th h "l\d5
              <i\.\,e..~y f't-1lly (t                     1t it1 ed    l\f\       c,f\       \C,\~   Je.fw'll\.,} Clo fv\ ,0t"'d5 btJ "                  ~
             C l I flc..\l)f,ff Pt r(i\t tAAJ                             +
                                                     of /Vi µA<re d,e..h,tJt..11/- C/o fVJ ,'dt&i.tl5 eMPti(.d
               hoit C'-'1 of- 0 IC 011 pt"',l).f-~·fr fo, N o (e"'So/l V\~,t\~\H· vJ                ~ Cl\ (\J
               r (.5 {-v , shf do l'j ~h J.wtt hl. w~ .St6ptC-kJ ot- d.,# ·"} V\c-1(\+:fF ~c,5
             N o+-- Viul,;.\;~- {'J o fp/ic.it Plll<l W/1 J111.s/ s/lfi"I'!:) II/ h is btJ ~C-1\ ht \f'lo l
        •    \,\~
                            Case 1:23-cv-02059-YK-SM Document 1 Filed 12/12/23 Page 43 of 55




[0-/, ol\ l[-;, •)3             ~I 4 ;"tiff 1,-J"t5 ; I\ \,105~ rt'<l w ~"- d,r,,,J,.."'5 ;io),A d6,::\fl Mj_ Q'i i,l 1,cl,..l -
        Gt lA.dd-Lt5 <?.t'\~r ~ \~i11+;ff ft;oM                Jo\\~ ~e.-1½-l ;},eS Jo (t/r1i ve. j f,(y'/ Whik Clo
        ~       Cl.l:,Ju[,t\u.dduS l,l_f fr,od.<.I_ fl~i,__\.;ff .,,,_ i.s Sf••t1             I
                                                                                  cp J.,M Jee ,...r;,f- p
         be c~fl/•s,J {.r J,i-.~ doe_-# I. 011« Juv,J,."1- j,h f fl•,/1/// Jo denflM- fu/M
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         115,,k /~;11/,//Xvtr«I ff«t,/,a#.J 1;,t 1fj,rd5 /t, df-4,,,I.~ /otA ,i,t/ 5',l41'1~t1 a/Id
        jf/,J'i5 f/11//1~//- ~ 1/1 A!.? /:/A-1- e'ft? /4-!IJ ,ffc,,4),Y//1/ ftit1;1/rr/
        l{/111/J.f    f,,./n◄/:J J,d/-};t {/-/ii/ /,{///;1/4µ ~/IX:. UjY//lt1Ur5             (l;1   (7/P /'I/Che~/5     ft,/lj

        5!11Xo /le,,.,/ltt/r ()_ J'et:Rl'll    /1°,A'tt   rA    ;1,,~ ·/VPfe t}ttl-f;_7 /lttrd-ir/ -f bkt:cl




l)                                                                                                               •
 :Jv-   Of\   \_ \   t- •                                                                            •
     .ti;               )3 Pt,,,tH w'Y be•'11 f,,l d;"""' Wh<A ceh-1,J,rt+s .;)o\."' c\.oc-:tf'B <W'j
            C/4 Cinftr juid' //4,4/i// t:Jvt/ _>1/JJ( u/ld Jxj,1/1 #ft /;'1} /7/4,~,/r ;/I Jj,?
        /Je,,) t,.,1/, t:/P.2d /J/ C{I'!,/ A'l'Wj;I'fa:,,f,/1 /,> ),,,5 ),,..; jJ!q,'fl/;/f' f,./"1
        /v~/ /iJ,:s/✓p! ti//J frlcl: W-15 IMV"m*d

(3/' 011 ll •J·i/J yID\illt-iFf t,,Ht5 ~rJ,"1 cJ h,:s Cell Jt1r Wht11 dewidw1.J- 1-/- J"fp,ri'rlL
     C1.f froci\.c.\cl ~lt..if4iff £1or ~~ O/v • f\ V\i5 h"l~ CXI"\~ w i+~ r.fo 'vJ~f'(\,AJ
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     5f f'1 ,j,J tl o /C i11 /(qi Ill-, 1f                      IP       4
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                   Case 1:23-cv-02059-YK-SM Document 1 Filed 12/12/23 Page 44 of 55




 \JJ.    OI\     \-t.J-~.3 f/D\,ll+;ff /;{0 Srfl-,101beJ.whudtft11dv1:I- .b,/4~ /u//ed ovt+ ./1c.
         l(o 01. (c,.1' of- o/C cw!- J,;t/"'1 to 1/ell cif- fl0ttA/lfl CU?ouf Ot55tiLdP~ de fid-Y (ovlt-
         for No re~ol\ defutdA~ ~ l)~,rll fa Rt-t- f0c,,Z_{Je_ of o/C (/C1Se {;f/Jdtr (}/Cfl/llt/r
        dour ffq;11+,ff j/4,d Uf 111 f,-l'!e -fa ,Jel M ovtif -}J!t ; f,s~ ?l5 deffetP<;t/- J/Afd
        0/C i/lp f!tt,'rl//f Cd/ ir1 v'clt~f w0 ;t,ifµ /t_ftr/aJ ;6 # / c:)h1k o/"f/?t:cl1Clu




[Jl.,{, ,,~ //, 7·,V /Jf.,,W,// //V l'jl'ljl' (7/1 /1f~/     u~                    wntA J~wrl C/. b;/t1er
     t71.,, .f C.t//!Mh// 4 /4dy /4/ fr f,1,~ €b t.M ?/J"x a/J9!!'1.,, .
     on ~','} WI-cl- /4~;,i;, 4 c,.,1tf ~""1 ~':7 ), ,~-~ ~ fi-//fo4'// .fa/
     5Pr~t,,y h, 111 Y   / ! 4 fa+
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                                                             f ' 1 1 i r l t 1 $           d , n / l ~ 1 1 - f -   ) + 1 1 e / '




     ');~~/\ ; _$/;de_ hox fa IJ~ tJ/c (r/.5tdc f /c,i/1[,~r «11 /lu~/ll'//' u.seJ b/q1/al
    o5 q $}1eld a11cl de/b?dar?I- J;/llt, t'/1/f-?/id ~ awhle 0,/J vr tJ/c ~
  #J  o/l Ita ;,,,fr#
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                                            ft1?WclJ½\~   Yl •l..\1 .)0 'ftJll.4/'J'1'0   )'\1a       \'MOLtJJJ Y' -W ·'a
I fV11Am-o(o V''-fJ~ 10 ""'~ P' dJ   of-i-l'llrl-f.J Jo fi1.it:J f,'!V~ >"M ~)'-\'J'"'\J V/J! fJ':1 j O V"\~
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        " vO f1Jl'JJO '1,v\ 1J'\v!"l~ 1-S· ~          hl J}S el ., 5 ' ·i ·z\ ~-~ >"f\Jf5 )\ ""' Jj '£ 1
~~!tv'"l& C,.!1 "(NlJ  t/~e r,v_,:JV"J - s,,,M -J-J!\v'"'~ r .q . 1 l !fV VI c C·\, ¥''\"., w J1 ~
                                                                           f\   "S l·'l ·£\ Wl'<J 1~ 11-\ \            I\
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          Case 1:23-cv-02059-YK-SM Document 1 Filed 12/12/23 Page 49 of 55



IV.            LEGAL CLAIM(S)

You are not required to make legal argument or cite any cases or statutes. However, state what
constituti onal rights, statutes, or laws yo u believe were violated by the above acti ons. If you intend to
assert multiple clai ms, number and set fo 1th each claim in separate paragraphs. Attach additi onal ·pages if
needed.

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V.             INJURY

Describe with specificity what injury, harm, or damages you suffered bfcapse of the events described
above.                                     w1 ,,b[t f. (1 p j/t.. ytAA.d A f--,"/11t:)/ P c-i;f\ ;(\ \Lft-O('M.

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VI.            RELIEF        lo55o F- CiV i" I c~se.5/Bl"'C.~ eyeS/ C-V\~~~e d ~ / ..s+t+c.~es,I\ k~ e.. Ye...
State exactly what you want the cou rt to do fo r yo u. For example, you may be seeking money damages,
you may want the co urt to order a defendant to do something or stop doing something, or you may be
seeking both types of reli ef. If you are seeking monetary relief, state your req uest ge nerall y. Do not
request a specific amount of money.

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       Case 1:23-cv-02059-YK-SM Document 1 Filed 12/12/23 Page 50 of 55



VII.    SIGNATURE

By signi ng this complaint, you represent to the court that the facts all eged are true to the best of yo ur
knowledge and are supported by evidence, that those facts show a violation of law, and that you are not
filing this complaint to harass another person or for any other improper purpose.
Local Rule of Court 83.18 requires prose plaintiffs to keep the co urt informed of their current address. If
yo ur address changes while your lawsuit is being li tigated, you must immediately inform the court of the
change in writing. By signing and submitting the complaint form , you agree to provide the Clerk's Office
with any changes to yo ur address where case-related papers may be served, and you acknowledge th at
yo ur failure to keep a current address on fi le with the Clerk ' s Office may result in dismissal of yo ur case.




    /0/24/:;3
Date




                                                   Page 6 of 6
            Case 1:23-cv-02059-YK-SM Document 1 Filed 12/12/23 Page 51 of 55




                  IN THE COMMONWEALTH COURT OF PENNSYLVANIA
                               ~.d,Jic.. DISTRICT o ~ Pl\-


- -kevin coit ________ ,                              :   NO:

                               PLAINTIFF

                      VS.


                               RESPONDENT



                                     VERIFICATION


      The facts set forth in the foregoing are true and correct to the best of the

undersigned's      knowledge, information, and belief and are ·verified subject to the .

penalties for unsworn falsification to authorities under Pennsylvania Crimes Code 4904

(18 Pa.C.S.A. § 4904).



No Notary
Required


                                                                     Respectfully Submitted,

       t f·rJI·
Date: , I ;t Oi              ,20~                               ~            - >< ,         ?
                                                                                         (signature)

                                                                        /'eu1A C, l   f (print name)

                                                                      Pro Se, Petitioner
                                                           S.C.I. Rockview, # /(r,:lat,,.l
                                                                    1 Rockview Place, Box A
                                                             Bellefonte, PA 16823-0820
             Case 1:23-cv-02059-YK-SM Document 1 Filed 12/12/23 Page 52 of 55




              ••             UNITED STATES DISTRICT COURT FOR THE
                       M iJ!J~     DISTRICT OF -.-P
                                                  ~A:_ _ __
                                         •
                                                                  NO: - - - - - - - - -
                                             PETITIONER

                             VS.


                                             RESPONDENT



                                             CERTIFICATE OF SERVICE


        I,   /<e ,4 C, ./- J"p(.X.
                11
                                             1   Pro Se, Petitioner, do hereby aver that copies of the

attached/enclosed .._C_... ~M+/h-...,.ff.1,.1.lrJ4.,f1 - - - - - - - - - - - - - have been mailed to the

below listed person(s) by First Class Mail, postage paid, on this /}'CJ                               day of

~-c.:h
    ~"~W
       - _____ , 20~                             , in compliance with Pennsylvania Rules of Criminal

Procedure, Fed.RAP. Rule 4.

        This service also satisfies the requirements of the Prisoner's Mailbox Rule,

outlined in Commonwealth v. Jones, 700 A.2d 423 (1997); and Houston v. Lack, 108

S.Ct. 2379 (1988); under penalty of perjury (28 U.S.C. § 1746).




Service by _______ Mail:                                     Service by _______ Mail:
              (First Class/ Certified)                                     (First Class/ Certified)
           Case 1:23-cv-02059-YK-SM Document 1 Filed 12/12/23 Page 53 of 55




Service by _______ Mail:                        Service by _______ Mail:
             (First Class/ Certified)                    (First Class/ Certified)




Service by £,·rsfCl4U                   Mail:   Service by _______ Mail:
             (First Class/ Certified)                    (First Class/ Certified)




                                                              Respectfully Submitted,


Date:   fo/i t '93                                               ~                  -2
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                                                                                          (print name)


                                                                        Pro Se, Petitioner
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                Case 1:23-cv-02059-YK-SM Document 1 Filed 12/12/23 Page 54 of 55

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                                                                    HARRISBURG, PA

                                                                      DEC 1'L 2023




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